                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:09 cr 29-1

UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )           ORDER
                                                )
ALBERT ESPINOZA.                                )
_______________________________                 )


        THIS MATTER has come before the undersigned pursuant to a motion filed

by the Government entitled “Motion for Hearing Regarding Conflict of Interest”

(#196). It appearing from an examination of the record in this cause that Defendant’s

counsel does not object to a hearing in regard to this motion. The undersigned will

order that a hearing be scheduled in this matter on June 20, 2011 at 10:30 o’clock a.m.

Defendant and his counsel are required by this Order to be present for the hearing of

the motion. A copy of this Order shall be delivered to the United States Marshal’s

Service.    The undersigned would further direct that the Government issue such

process as is necessary to secure the attendance of Defendant for this hearing.



                                      ORDER

        IT IS, THEREFORE, ORDERED that a hearing in regard to the motion

entitled “Motion for Hearing Regarding Conflict of Interest” (#196) will be scheduled

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for Monday, June 20, 2011 at 10:30 a.m. in Courtroom #1 at the United States District

Court Western District of North Carolina, Asheville Division, 100 Otis Street,

Asheville, North Carolina. Defendant’s counsel is required, by this Order, to be

present for the hearing of this motion. A copy of this Order shall be delivered to the

United States Marshal’s Service. The Government is directed to issue such process

as is necessary to secure the attendance of Defendant for this hearing.



                                          Signed: June 7, 2011




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